          Case 4:20-cv-00338-KGB Document 59 Filed 11/09/21 Page 1 of 2




                          THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

SIX HOGS, LLC                                                                            PLAINTIFF

v.                                  Case No. 4:20-cv-00338-KGB

JOHN DOE, doing business as SAMSONICO
INTERNATIONAL, INC., and SAMSONICO USA, LLC                                          DEFENDANTS

                                               ORDER

       Before the Court is plaintiff Six Hogs LLC (“Six Hogs”) and defendants John Doe, doing

business as Samsonico International, Inc., and Samsonico USA, LLC’s (jointly “Samsonico”) joint

motion to partially lift the stay of litigation in the above-styled case for purposes of briefing, under

seal, their Joint Motion to Enforce Settlement (Dkt. No. 57). Specifically, the parties wish the

Court to determine whether Six Hogs has provided all requested confidential information to satisfy

the terms of the agreed upon settlement (Id.). Six Hogs claims that it has complied with the

settlement disclosure requirements (Id.). Samsonico disagrees (Id.).

       For good cause shown, the stay of litigation is partially lifted to allow for the following

briefing schedule for the parties’ Joint Motion to Enforce Settlement. The parties will file their

respective briefs in support of the Joint Motion to Enforce Settlement by November 12, 2021. The

parties must file any response briefs by November 19, 2021. Lastly, the parties will have until

November 24, 2021 to file any reply briefs.

       As the terms of this settlement are intended to be confidential, the parties are ordered to

comply with the Court’s procedures for submitting their briefs, or the relevant parts thereof, under

seal to the Court as appropriate.
  Case 4:20-cv-00338-KGB Document 59 Filed 11/09/21 Page 2 of 2




It is so ordered this 9th day of November, 2021.


                                             _________________________________
                                             Kristine G. Baker
                                             United States District Judge




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